                              UNITED STATES DISTRICT COURT
                             EASTERN DISTRICT OF TENNESSEE
                                    AT CHATTANOOGA

 UNITED STATES OF AMERICA,                        )
                                                  )
                                                  )
 v.                                               )   No. 1:09-cr-123-TRM-SKL-11
                                                  )
                                                  )
 CRYSTAL MARIE HENLEY                             )


                                MEMORANDUM AND ORDER

         CRYSTAL MARIE HENLEY (“Defendant”) appeared for a hearing on April 21, 2017,
 in accordance with Rule 32.1 of the Federal Rules of Criminal Procedure on the Petition for a
 Warrant or Summons for an Offender Under Supervision (“Petition”). Upon the motion of the
 Government that Defendant be detained without bail pending her revocation hearing before U.S.
 District Judge McDonough, Defendant waived her preliminary hearing, but requested a detention
 hearing and time to prepare for a detention hearing [Doc. 836 ].

         Defendant was scheduled to appear before the undersigned on April 27, 2017 at 2:00 p.m.
 for a detention hearing [Docs. 833 & 835]. Prior to the hearing, a motion to strike the request for
 a detention hearing and a waiver of the detention hearing signed by Defendant was filed with the
 Court [Doc. 837 & 838]. Based on the waiver, I find Defendant, with advice of counsel, waived
 her right to a detention hearing, but a detention hearing may be granted at a later date on motion
 of Defendant. Defendant shall be held in custody by the United States Marshal and produced for
 future hearings.

         Based upon the Petition and waiver of preliminary hearing at her initial appearance [Doc.
 833], the Court finds there is probable cause to believe Defendant has committed violations of
 her condition of supervised release as alleged in the Petition.


        Accordingly, it is ORDERED that:

        (1) Defendant shall appear for a revocation hearing before U.S. District Judge
        McDonough.

        (2) The Government’s motion that Defendant be DETAINED WITHOUT BAIL
        pending her revocation hearing before Judge McDonough is GRANTED.




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       (3) The U.S. Marshal shall transport Defendant to a revocation hearing set before District
       Judge McDonough on June 2, 2017 at 2:00 p.m.

       SO ORDERED.

       ENTER.
                                            s/fâátÇ ^A _xx
                                            SUSAN K. LEE
                                            UNITED STATES MAGISTRATE JUDGE




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